                      Case 4:14-cr-00188-DPM
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                                                                  Document 579             Filed 03/02/16          Page 1 of 4  FILED
                                                                                                                            U.S. DISTRICT COURT
                     Sheet 1                                                                                            EASTERN DISTRICT AR

                                                                        . ·'AR 0 2 2016
                                           UNITED STATES DISTRICT COURTJA~Ms
                                                                         wf
                                                                                                                  By:        · ,,,~C01'M.Aai:
                                                             Eastern District of Arkansas                                      'Q!P>17T(_ ·l'fW CLERK
                                                                           )
               UNITED STA TES OF AMERICA                                   )         JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                         CHARLES OLIVER                                    )
                                                                                     Case Number: 4:14CR00188-19 JLH
                                                                           )
                                                                           )         USM Number: 28720-009
                                                                           )
                                                                           )          Arkie Byrd
                                                                           )         Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          Count 57 of Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                             Offense Ended           Count
 21 u.s.c. § 843(b)                 Use of a communication facility to facilitate a drug offense,                2/15/2014                57

                                        a Class E felony



       The defendant is sentenced as provided in pages 2 through                 4          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      Counts 1, 2, 58 of Indictment            o is     Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 day:s of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                           3/2/2016



                                                                          ?T~J~
                                                                          Signatprl!'6f Judge               •




                                                                           J. Leon Holmes, United States District Judge
                                                                          Name and Title of Judge


                                                                           3/2/2016
                                                                          Date
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AO 245B (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                   Judgment - Page     2   of   4
 DEFENDANT: CHARLES OLIVER
 CASE NUMBER: 4:14CR00188-19 JLH

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  24 MONTHS with no term of supervised release to follow




     Ill The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends the defendant participate in residential substance abuse treatment, and educational and vocational
  programs during incarceration.


     Ill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                   D a.m.      D p.m.       on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to

 a                                                , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                        By ---r)EJ>lffYUlfilEWffATES"MARsiW---
                                                                                      DEPUTY UNITED STATES MARSHAL
                       Casein4:14-cr-00188-DPM
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         Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment - Page       3     of         4
DEFENDANT: CHARLES OLIVER
CASE NUMBER: 4:14CR00188-19 JLH
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                        Fine                               Restitution
TOTALS            $   100.00                                        $    0.00                          $    0.00


D The determination ofrestitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

  Name of Payee                                                           Total Loss*         Restitution Ordered Priority or Percentage




TOTALS                             $                        0.00           $                      0.00


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the         D fine       D restitution.
      D the interest requirement for the       D    fine    D restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 foroffenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
                      Case in4:14-cr-00188-DPM
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        Sheet 6- Schedule of Payments
                                                                                                               Judgment - Page       4     of           4
DEFENDANT: CHARLES OLIVER
CASE NUMBER: 4: 14CR00188-19 JLH

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     el Lump sum payment of$ _10_0_.0_0_ _ __ due immediately, balance due

           D     not later than                                     , or
           D     in accordance         D C,        D D,        D     E, or     D F below; or
B     D Payment to begin immediately (may be combined with                   D C,        D D, or       D F below); or
C     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g.. months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                            (e.g.. weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet~ penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
